              Case 23-17424-VFP                    Doc 1      Filed 08/25/23 Entered 08/25/23 16:46:32                               Desc Main
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Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                        Chapter       7
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Astral Energy, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  25 Philips Parkway, Suite 207
                                  Montvale, NJ 07645
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Bergen                                                            Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




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Debtor    Astral Energy, LLC                                                                           Case number (if known)
          Name


7.   Describe debtor's business       A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
     A debtor who is a “small              Chapter 9
     business debtor” must check           Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is                               operations, cash-flow statement, and federal income tax return or if any of these documents do not
     a “small business debtor”)                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     must check the second                                       The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
                                         Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                  Case number
                                                District                                  When                                  Case number




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Debtor    Astral Energy, LLC                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
                                             Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                    Relationship
                                                    District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                             preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                  Where is the property?
                                                                                    Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                       No
                                                       Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                25,001-50,000
    creditors
                                           50-99                                            5001-10,000                                50,001-100,000
                                           100-199                                          10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                            $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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                                                      Document     Page 4 of 13
Debtor   Astral Energy, LLC                                                          Case number (if known)
         Name

                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




 Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
              Case 23-17424-VFP                 Doc 1       Filed 08/25/23 Entered 08/25/23 16:46:32                                 Desc Main
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Debtor   Astral Energy, LLC                                                                        Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 25, 2023
                                                  MM / DD / YYYY


                             X /s/Ashton Fox                                                               Ashton Fox
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/John O'Boyle, Esq.                                                       Date August 25, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 John O'Boyle, Esq.
                                 Printed name

                                 Norgaard OBoyle Hannon
                                 Firm name

                                 184 Grand Avenue
                                 Englewood, NJ 07631
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (201) 871-1333                Email address      joboyle@norgaardfirm.com

                                 JO -6337 NJ
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 5
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Debtor   Astral Energy, LLC                                                                        Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 25, 2023
                                                  MM / DD / YYYY


                             X /s/Ashton Fox                                                               Ashton Fox
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/John O'Boyle, Esq.                                                       Date August 25, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 John O'Boyle, Esq.
                                 Printed name

                                 Norgaard OBoyle Hannon
                                 Firm name

                                 184 Grand Avenue
                                 Englewood, NJ 07631
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (201) 871-1333                Email address      joboyle@norgaardfirm.com

                                 JO -6337 NJ
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 5
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                                                                     Document     Page 7 of 13
 Fill in this information to identify the case:

 Debtor name          Astral Energy, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
        Boston Energy Trading &
 2.1
        Marketing LLC                                Describe debtor's property that is subject to a lien                      Unknown                       $0.00
        Creditor's Name                              Collateral Accounts & Receivables
        One International Place,
        Suite 900
        Boston, MA 02110
        Creditor's mailing address                   Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   $0.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                        District of New Jersey
 In re       Astral Energy, LLC                                                                                                                    Case No.
                                                                                                           Debtor(s)                               Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept ....................................................................                  $                  7,500.00
             Prior to the filing of this statement I have received .......................................................                     $                  7,500.00
             Balance Due ...................................................................................................................   $                      0.00

              RETAINER
             For legal services, I have agreed to accept and received a retainer of...........................                                 $
             The undersigned shall bill against the retainer at an hourly rate of ...............................                              $
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       b. [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     August 25, 2023                                                                                      /s/John O'Boyle, Esq.
     Date                                                                                                 JOhn O'Boyle, Esq.
                                                                                                          Signature of Attorney
                                                                                                          Norgaard OBoyle Hannon
                                                                                                          184 Grand Avenue
                                                                                                          Englewood, NJ 07631
                                                                                                          (201) 871-1333 Fax: (201) 871-3161
                                                                                                          joboyle@norgaardfirm.com
                                                                                                          Name of law firm




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                                                             United States Bankruptcy Court
                                                                        District of New Jersey
 In re      Astral Energy, LLC                                                                    Case No.
                                                                                   Debtor(s)      Chapter      7




                                              VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:        August 25, 2023                                           /s/ Ashton Fox
                                                                         Ashton Fox/President
                                                                        Signer/Title




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                            Boston Energy Trading & Marketing LLC
                            One International Place, Suite 900
                            Boston, MA 02110
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                                                             United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Astral Energy, LLC                                                                             Case No.
                                                                                    Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Astral Energy, LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    Astral Holding Company, Inc.




 August 25, 2023                                                       /s/JOhn O'Boyle, Esq.
 Date                                                                  John O'Boyle, Esq.
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Astral Energy, LLC
                                                                       Norgaard O'Boyle Hannon
                                                                       184 Grand Avenue
                                                                       Englewood, NJ 07631
                                                                       (201) 871-1333 Fax:(201) 871-3161
                                                                       joboyle@norgaardfirm.com




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